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                                                                    September 6, 2024

VIA ECF

Catherine O’Hagan Wolfe
Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

               Re:    Carroll v. Trump, No. 23-793

Dear Ms. O’Hagan Wolfe:

         I am counsel for Appellee E. Jean Carroll in the above-refenced appeal. During today’s oral
argument, we referenced two authorities that had not previously been mentioned in Ms. Carroll’s
brief, in response to points raised by Appellant Donald J. Trump in his reply brief. For the Court’s
convenience, those provisions are: 18 U.S.C. § 113(e) (1964) (cross-referenced in Act to Amend the
Federal Aviation Act of 1958, Pub. L. 87-197, § 1, 75 Stat. 466 (1961) (codified at 49 App. U.S.C.
§ 1472(k)(1))), and United States v. Bayes, 210 F.3d 64 (1st Cir. 2000).



                                                            Respectfully submitted,



                                                            Roberta A. Kaplan


cc:    All counsel by ECF
